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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE GOOGLE DIGITAL ADVERTISING No. 21-md-3010 (PKC)
ANTITRUST LITIGATION

This Stipulation Relates To:

THE STATE OF TEXAS, et al,
Plaintiffs,
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agains No. 21-CV-6841 (PKC)
GOOGLE LLC,
Defendant.

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STIPULATION REGARDING
STATE PLAINTIFFS’ STATE LAW CLAIMS

Defendant Google LLC (“Google”) and Plaintiffs State of Texas, State of Alaska, State of
Arkansas, State of Florida, State of Idaho, State of Indiana, Commonwealth of Kentucky, State of
Louisiana, State of Mississippi, State of Missouri, State of Montana, State of Nevada, State of
North Dakota, Commonwealth of Puerto Rico, State of South Carolina, State of South Dakota, and
State of Utah (collectively “State Plaintiffs”) stipulate as follows:

WHEREAS, on September 13, 2022, the Court issued its Opinion and Order on Google’s
Motion to Dismiss Counts I Through IV of the States’ Third Amended Complaint (ECF No. 308,

the “Opinion and Order”);

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WHEREAS, on November 18, 2022, the Court issued Pre-Trial Order No. 4, ordering State
Plaintiffs and Google to meet and confer on a stipulation as to the effect of the Opinion and Order
on any of the State Plaintiffs’ state law claims and to report to the Court within 21 days (see ECF
No. 392, 7 4);

NOW THEREFORE, Google and State Plaintiffs (“the parties”), through their respective
counsel, hereby stipulate as follows:

1. Where the Opinion and Order has determined the viability of any federal antitrust
claim based on certain conduct, the parties stipulate that the Opinion and Order is
also determinative of any state antitrust claim based on that same conduct,

2, Any state law antitrust claim is deemed dismissed to the extent that it is based on
conduct alleged to serve as a basis for a federal antitrust claim that the Opinion and
Order dismissed;

3, The parties have not reached any agreement—and this Stipulation should not be
interpreted as expressing a view—as to whether any state law antitrust claim based
on conduct, other than conduct described in paragraph 2, should be deemed
dismissed;

4. If any portion of the Opinion and Order is reversed on appeal, Google will not take
the position that State Plaintiffs, by entering into this Stipulation, have waived any
state antitrust claim based on such portion of the Opinion and Order,

5. The Opinion and Order did not determine the viability of the State Plaintiffs’ claims

arising under the deceptive trade practice acts of the various State Plaintiffs; and

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6. The parties have not reached any agreement—and this Stipulation should not be

interpreted as expressing a view—-as to whether State Plaintiffs may further amend

their pleadings with respect to state antitrust claims or any other claims.

IT IS SO STIPULATED.
Dated: December 9, 2022

fs/ Evic Mahr
Eric Mahr

700 13th Street, NW

10th Floor

Washington, DC 20005
Telephone: (202) 777-4545
Email: eric.mahr@freshfields.com

Justina K. Sessions

WILSON SONSINI GOODRICH & ROSATI

Professional Corporation

One Market Plaza

Spear Tower, Suite 3300

San Francisco, California 94105
Telephone: (415) 947-2197
Email: jsessions@wsgr.com

Counsel for Defendant Google LLC

pr
FRESHFIELDS BRUCKHAUS DERINGER US LLP tity yh

nf

Pee OE,

For Plaintiff States of Texas, Idaho, Indiana, Louisiana (The Lanier Law Firm only), Mississippt,

North Dakota, South Carolina, and South Dakota:

s/ Ashley Keller

Ashley Keller

Admitted Pro Hac Vice
ack@kellerpostman.com

Jason A. Zweig
jaz@kellerpostman.com

Brooke Clason Smith
brooke.smith@kellerpostman.com
150 N. Riverside Plaza, Suite 4100
Chicago, Illinois 60606

(312) 741-5220

Zina Bash
zina.bash@kellerpostman.com
111 Congress Avenue, Suite 500

/s/ Mark Lanier

W. Mark Lanier (lead counsel)
Texas Bar No. 11934600

Mark. Lanier@LanierLawFirm.com
Alex J. Brown
Alex.Brown(@LanierLawFirm.com
Zeke DeRose IU

Zeke. DeRose@LanierLawFirm.com
10940 W. Sam Houston Parkway N. Suite 100
Houston, Texas 77064

Telephone: (713) 659-5200
Facsimile: (713) 659-2204

THE LANIER LAW FirM, P.C.

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Austin, TX 78701
(501) 690-0990
KELLER POSTMAN LLC

Attorneys for Plaintiff States of Texas, Idaho, Indiana, Louisiana (The Lanier Law Firm only),
Mississippi, North Dakota, South Carolina, and South Dakota

FOR PLAINTIFF STATE OF TEXAS:

KEN PAXTON
Attorney General

/s/ Shawn E, Cowles

Brent Webster, First Assistant Attorney
General of Texas

Brent. Webster@oag.texas.gov

Grant Dorfiman, Deputy First Assistant
Attorney General

Grant. Dorfman@oag.texas.gov

Aaron Reitz, Deputy Attorney General
for Legal Strategy
Aaron.Reitz@oag.texas.gov

Shawn E. Cowles, Deputy

Attorney General for Civil

Litigation.
Shawn.Cowles@oag.texas.gov
Nanette DiNunzio, Associate

Deputy Attomey

General for Civil Litigation

Nanette. Dinunzio@oag.texas.gov

James R. Lloyd, Chief, Antitrust
Division

James. Lloyd@oag.texas.gov Trevor
Young, Deputy Chief, Antitrust
Division

Trevor, Young @oag.texas.gov
Gabriella Gonzalez, Assistant Attorney
General, Antitrust Division
Gabriella.Gonzalez@oag.texas. gov
Margaret Sharp, Assistant Attorney
General, Antitrust Division
Margaret.Sharp@oag.texas.gov
Kelsey Paine, Assistant Attorney General,
Antitrust Division

Kelsey. Paine@oag.texas.g0V

William Shieber, Assistant Attorney
General, Antitrust Division
William.Shieber@oag.texas.gov
Matthew Levinton, Assistant Attorney
General, Antitrust Division
Matthew.Levinton@oag.texas.gov
Ralph Molina, Assistant Attorney
General, General Litigation Division
Ralph.Molina@oag.texas.gov

OFFICE OF THE ATTORNEY GENERAL OF
TEXAS

P.O. Box 12548

Austin, TX 78711-2548

(512) 936-1674

Attorneys for Plaintiff State of Texas

Caacd PrmdMBeDIRKKc Dpewmerinila-a Filed 12/09/22 Page § of 14

FOR PLAINTIFF STATE OF ALASKA:

JTREG R. TAYLOR

Attorney General
By:  /s/ Jeff Pickett
Jeff Pickett

Senior Assistant Attorney General, Special Litigation
Section jeff.pickett@alaska.gov

Attorney for Plaintiff State of Alaska

FOR PLAINTIFF STATE OF ARKANSAS:

LESLIE RUTLEDGE ATTORNEY
GENERAL

By: /s/ Johnathan R, Carter
Johnathan R. Carter — AR Bar # 2007105
Assistant Attorney General
Office of the Arkansas Attorney General
323 Center Street, Suite 200
Little Rock, AR 72201
Phone: 501.682.8063
Fax: 501.682.8118
Email: Johnathan.Carter@Arkansasag. gov

Attorney for Plaintiff State of Arkansas

FOR PLAINTIFF STATE OF FLORIDA:
ASHLEY MOODY, Attorney General

fs/ R. Scott Palmer

R. SCOTT PALMER, Interim Co-Director, Antitrust Division
FL Bar No. 220353

JOHN GUARD, Chief Deputy Attorney General

LEE ISTRAIL, Assistant Attorney General

CHRISTOPHER KNIGHT, Assistant Attorney General
ANDREW BUTLER, Assistant Attorney General

Office of the Attorney General, State of
Florida PL-01 The Capitol
Tallahassee, Florida 32399

Cease 2bamdMaebaPKKc DegumeeiAlgd Filed 12/0/22 Bage é of 14

Phone: 850-414-3300
Email: scott.palmer@myfloridalegal.com

Attorneys for Plaintiff State of Florida

FOR PLAINTIFF STATE OF IDAHO:

LAWRENCE G. WASDEN
Attorney General

/s/ Brett T. DeLange
Brett T. DeLange, Division Chief, Consumer Protection Division

John K. Olson, Deputy Attorney General

Consumer Protection Division
Office of the Attorney General
954 W. Jefferson Street, 2nd
Floor

P.O. Box 83720

Boise, Idaho 83720-0010
Telephone: (208) 334-2424
brett.delange@ag.idaho.gov
john. olson@ag.idaho.gov

Attorneys for Plaintiff State of Idaho

FOR PLAINTIFF STATE OF INDIANA:

THEODORE E, ROKITA
Attorney General

The Office of the Indiana Attorney General

By: Se He gp Gh
Scott Barnhart
Chief Counsel and Director of Consumer Protection
Indiana Atty. No. 25474-82
Indiana Government Center South — 5th
Fl. 362 W. Washington Street
Indianapolis, IN 46204-2770
Phone: (317) 232-6309
Fax; (317) 232-7979
Email: scott.barnhart(@atg.in.gov

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Matthew Michaloski

Deputy Attorney General

Indiana Atty. No. 35313-

49

Indiana Government Center South — 5th
Fl. 302 W. Washington Street
Indianapolis, IN 46204-2770

Phone: (317) 234-1479

Fax: (317) 232-7979

Email: matthew.michaloski@atg.in.gov

Attorneys for Plaintiff State of Indiana

FOR PLAINTIFF COMMONWEALTH OF KENTUCKY:

DANIEL CAMERON
Attorney General

J. Christian Lewis
Executive Director of Consumer Protection

Christian. Lewis@ky. gov

Philip R. Heleringer, Deputy Director of Consumer Protection
Philip.Heleringer@ky.gov

Jonathan E. Farmer, Assistant Attorney General
Jonathan.Farmer@ky.gov

Office of the Attorney General,

Commonwealth of Kentucky

1024 Capital Center Drive, Suite 200

Frankfort, Kentucky 40601

Tel: 502-696-5300

Attorneys for Commonwealth of Kentucky

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FOR PLAINTIFF STATE OF LOUISIANA:

HON, JEFF LANDRY

ATTORNEY GENERAL, STATE OF LOUISIANA
Michael Dupree

Christopher J.

Alderman 1885 N. 374

Street

Baton Rouge, LA 70802

s/ James R. Dugan, H

James R. Dugan, fl (pro hac

vice) TerriAnne Benedetto (pro

hac vice) The Dugan Law Firm

365 Canal Street

One Canal Place, Suite

1000 New Orleans, LA

70130 PH: (504) 648-

0180

FX: (504) 649-0181

EM: jdugan@dugan-lawfirm.com
tbenedetto@dugan-
lawfirm.com

James Williams

CHEHARDY SHERMAN WILLIAM, LLP
Galleria Boulevard, Suite 1100

Metairie, LA 70001

PH: (504) 833-5600

FX: (504) 833-8080

EM: jow@chehardy.com

Attorneys for the State of Louisiana

FOR PLAINTIFF STATE OF MISSISSIPPI:

LYNN FITCH, ATTORNEY GENERAL
STATE OF MISSISSIPPI

By:  /s/ Hart Martin
Hart Martin
Consumer Protection Division
Mississippi Attorney General’s Office
Post Office Box 220
Jackson, Mississippi 39205
Telephone: 601-359-4223

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Fax: 601-359-4231
Hart.martin@ago.ms.gov

Attorney for Plaintiff State of Mississippt

FOR PLAINTIFF STATE OF MISSOURI

Eric Schmitt
Attorney
General

Amy. Haywood@ago.mo.gov
Missouri Attorney General’s
Office

P.O. Box 899

Jefferson City, Missouri
65102 Tel: 816-889-3090

Attorneys for Plaintiff State of Missouri

FOR PLAINTIFF STATE OF MONTANA:

AUSTIN KNUDSEN
Montana Attorney General

/s/ David M.S. Dewhirst
DAVID M.S. DEWHIRST
Solicitor General

P.O. Box 200151

Helena, MT 59620-0151
Phone: (406) 444-4500
Fax: (406) 442-1894

david. dewhirst(@mt,gov
mmattioli@mt.gov

/sf Charles J. Cooper Charles
J. Cooper
ccooper(@cooperkirk.com
David H. Thompson
dthompson@cooperkirk.com

Cased 2b-merOSandPKRc Dogunent slot Filed 12/99/23 Bage 46 af 14

Brian W. Barnes
bbarnes(@cooperkirk.com

Harold S, Reeves
hreeves(@cooperkirk.com
COOPER & KIRK PLLC

1523 New Hampshire Avenue, NW
Washington DC 20036

Phone: (202) 220-9620

Fax: (202) 220-9601

Attorneys for Plaintiff State of Montana

FOR PLAINTIFF STATE OF NEVADA:

AARON D. FORD
Attorney General
ERNEST D.
FIGUEROA
Consumer Advocate

/s/ Marie W.L. Martin

Marie W.L. Martin (NV Bar No. 7808)
Senior Deputy Attorney General
MWMartin@ag.nv.gov

Lucas J. Tucker (NV Bar No.

10252) Senior Deputy Attorney
General LTucker@ag.nv.gov

Office of the Nevada Attorney General
Senior Deputy Attorney General
Michelle Newman (NV Bar No.
13206) mnewman@ag.nv.gov

100 N. Carson St.

Carson City, Nevada 89701

Tel: (775) 684-1100

Attorneys for Plaintiff State of Nevada

FOR PLAINTIFF STATE OF NORTH DAKOTA:

STATE OF NORTH DAKOTA
Drew H. Wrigley Attorney
General

By: //Elin S. Alm
Parrell D. Grossman, ND ID 04684

10

Cased: 2b nd @3atar bec Demunanidlort Filed 43/99/33 Bage 44 st 44

Elin S. Alm, ND ID 05924

Assistant Attorneys General

Consumer Protection & Antitrust Division

Office of Attorney General of North Dakota

1720 Burlington Drive, Suite C, Bismarck, ND 5 8503-7736
(701) 328-5570

(701) 328-5568 (fax)

perossman@nd.gov

ealm@nd. gov

Attorneys for Plaintiff State of North Dakota

FOR PLAINTIFF COMMONWEALTH OF PUERTO RICO:

/s/ Domingo Emanuelli-Hernandez
Domingo Emanuelli-

Hernandez Attorney General
Thaizza Rodriguez

Pagan Assistant Attorney

General PR Bar No.

17177

P.O. Box 9020192

San Juan, Puerto Rico 00902-0192
Tel: (787) 721-2900, ext. 1201,
1204

trodriguez(@justicia.pr. gov

Attorneys for Plaintiff Commonwealth of Puerto Rico

FOR PLAINTIFF STATE OF SOUTH CAROLINA:

ALAN WILSON
Attorney General

isi Rebecca M. Hartner

Rebecca M. Hartner (S.C. Bar No. 101302)
Assistant Attomey General

W. Jeffrey Young

Chief Deputy Attorney General

C. Havird Jones, Jr.

Senior Assistant Deputy Attorney General
Mary Frances Jowers

Assistant Deputy Attorney General

South Carolina Attorney General’s Office

11

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P.O. Box 11549

Columbia, South Carolina 29211-1549
Phone: 803-734-3970

Email: rhartner(@scag.gov

Charlie Condon

Charlie Condon Law Firm,

LLC 880 Johnnie Dodds Blvd,
Suite | Mount Pleasant, SC

29464 Phone: 843-884-8146
Email: charlie@charliecondon.com

James R. Dugan, II (pro hac

vice) The Dugan Law Firm

365 Canal Street

One Canal Place, Suite 1000

New Orleans, LA 70130

Phone: (504) 648-0180

Email: jdugan@dugan-lawfitm.com

Attorneys for Plaintiff State of South Carolina

FOR PLAINTIFF STATE OF SOUTH DAKOTA:

MARK VARGO
Attorney General

/s/ Yvette K. Lafrentz

Yvette K. Lafrentz

Assistant Attomey

General

Consumer Protection Division

South Dakota Office of the Attorney General
1302 E. Hwy. 14, Suite 1

Pierre, SD 57501

P: 605.773.3215 F:605.773.4106

Yvette. lafrentz@state.sd.us

Attorney for Plaintiff State of South Dakota

12

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FOR PLAINTIFF STATE OF UTAH:

Sean D. Reyes
Utah Attorney General

{s/ Tara Pincock

Tara Pincock

Assistant Attorney General, Antitrust Section
Office of the Utah Attorney General

160 E 300 S, 5th Floor

PO Box 140874

Salt Lake City, UT 84114-0872

Telephone: 385-881-3958

Fax: 801-366-0315

Attorneys for Plaintiff State of Utah and as counsel for the Utah Division of Consumer
Protection

PURSUANT TO STIPULATION, IT IS SO ORDERED.

Date:

Hon. P, Kevin Castel
United States District Court
Southern District of New York

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